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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                               Case No. 21-cr-0109 (WMW/ECW)

                             Plaintiff,
                                                         ORDER OF DISMISSAL
        v.

Derek Michael Chauvin,

                             Defendant.


       Before the Court is Plaintiff United States of America’s unopposed motion for an

order dismissing the indictment against Defendant Derek Michael Chauvin in this matter.

(Dkt. 51.) Pursuant to Rule 48(a), Fed. R. Crim. P., the United States’s motion for dismissal

is GRANTED and the indictment against Defendant Derek Michael Chauvin, (Dkt. 1), is

DISMISSED.


Dated: July 8, 2022                                      s/Wilhelmina M. Wright
                                                         Wilhelmina M. Wright
                                                         United States District Judge
